                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE


 TRACY ANDRIANO,                                 )   Docket No. 3:15-CV-0863
                                                 )
      Plaintiff,                                 )
                                                 )   JUDGE CRENSHAW
 v.                                              )   MAGISTRATE JUDGE HOLMES
                                                 )
 TYSON FOODS, INC.,                              )   JURY DEMAND
 TYSON FRESH MEATS, INC.,                        )
 a subsidiary of Tyson Foods, Inc.               )
                                                 )
      Defendants.                                )

                   DEFENDANTS’ FIRST MOTION IN LIMINE TO
             EXCLUDE INADMISSIBLE TESTIMONY OF CAYMAN CARROLL

         Defendants Tyson Foods, Inc. and Tyson Fresh Meats, Inc. (collectively referred to as

“Tyson”) hereby moves that this Court enter an Order excluding from trial inadmissible

testimony by Cayman Carroll regarding (1) what Plaintiff told her about Driton Gashi; (2) how

she believes other female employees felt around Driton Gashi; and (3) her belief that Tyson

treats men better than women.

         In support of its motion, Tyson contemporaneously files a memorandum of law.




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                                                 Respectfully submitted,


                                                     s/Megan M. Sutton
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                                                     Attorneys for Defendant




                                   CERTIFICATE OF SERVICE

        I hereby certify that on July 17, 2017, a copy of Defendants’ First Motion in Limine to
Exclude Inadmissible Testimony of Cayman Carroll was filed electronically. Notice of this
filing will be sent by operation of the Court’s electronic filing system to all parties indicated on
the electronic filing receipt. All other parties will be served by regular U.S. mail. Parties may
access this filing through the Court’s electronic filing system.

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                                                       s/Megan M. Sutton
                                                       Megan M. Sutton




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